Case 2:24-cv-01129-RJC   Document 24-13   Filed 12/02/24   Page 1 of 2




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     Case 2:24-cv-01129-RJC                     Document 24-13               Filed 12/02/24   Page 2 of 2


From:               Shannon Liss-Riordan
To:                 Scott, Jessica
Cc:                 McHugh, Joe; Jeremy Abay; Creighton, Virginia; Kennedy, Shanicka
Subject:            RE: Claiborne -- expenses and follow-up re Garg errors
Date:               Friday, October 25, 2024 4:48:40 PM
Attachments:        image001.png



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   opening attachments. When in doubt, contact the IS Department at
   i.s.dept@wtotrial.com


Jessica - We made reasonable estimates based upon a ridiculous amount of data to have
to go through to calculate employees’ pay – while your client should have been keeping
contemporaneous track of this all along. We look forward to working with you to figure out
how best to take care of this mess your client created.

Again, as much as I love trading emails with you, I’m going to sign off with you for the
weekend and wish you a good weekend.

Shannon



From: Scott, Jessica <scott@wtotrial.com>
Sent: Friday, October 25, 2024 5:38 PM
To: Shannon Liss-Riordan <sliss@llrlaw.com>
Cc: McHugh, Joe <joseph.mchugh@fedex.com>; Jeremy Abay <jabay@llrlaw.com>; Creighton,
Virginia <Creighton@wtotrial.com>; Kennedy, Shanicka <shanicka.kennedy@fedex.com>
Subject: Re: Claiborne -- expenses and follow-up re Garg errors

Let me just be clear about one key point. Some of the most egregious examples of Ms. Garg’s errors were ignoring
actual produced paystubs and, instead, inventing her own numbers. This happened quite frequently. Try to shift the
blame, unsuccessfully, as much as you’d like, but there can be no blame shifting for this.



       On Oct 25, 2024, at 3:20ථPM, Shannon Liss-Riordan <sliss@llrlaw.com> wrote:



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           attachments. When in doubt, contact the IS Department at i.s.dept@wtotrial.com



       Yes, Joe, assuming we win, and we are confident we will, FedEx will be on the
       hook for not having kept complete and accurate pay records.

       I’m done with this conversation. Have a good weekend.

       ----------------------------------------------
